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AQ 245 B (Rev..06/05)(W_.D.TX.) - Judgment in a Criminal Case

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UNITED STATES DISTRICT COURT

     
 

Western District of Texas MAR19 2010 |
SAN ANTONIO DIVISION , U.8, DISTRICT Uw
WeSTERNDigrRICT OF TEXA.
UNITED STATES OF AMERICA BY
v. Case Number $A-08-CR-301 (1)-XR
USM Number 11920-280
STEVEN LYNN MOUTON
Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, STEVEN LYNN MOUTON, was represented by Karl A. Basile.

The defendant was found guilty on Count(s) One (1) and Two (2) by a jury verdict on October 6, 2009 after a plea of
not guilty. Accordingly, the defendant is adjudged guilty of such Count(s), involving the following offense(s):

Title & Section Nature of Offense Offense Ended Count (s)
18 USC § 2251 (a) Production of Child Pornography October 2007 One (1)
18 USC § 2252(a)(4)(B) Possession of Child Pornography October 18, 2007 Two (2)

As pronounced on March 17, 2010, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

Signed this the \y day of March, 2010.

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XAVIER RODRIGUEZ
United States District Judge

 

 
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AO 245 B (Rev. 06/05)(W.D.TX.) - Imprisonment

 

Judgment--Page 2

Defendant: STEVEN LYNN MOUTON
Case Number: SA-08-CR-301 (1)-XR

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
THREE HUNDRED SIXTY (360) months as to Count One (1) and ONE HUNDRED TWENTY (120) months as to Count
Two (2) to be served concurrently.
The Court makes the following recommendations to the Bureau of Prisons:

(1) That the defendant be incarcerated in a Federal Correctional Institution as close to San Antonio, Texas as possible.

The defendant shall remain in custody pending service of sentence.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on to
at , with a certified copy of this Judgment.

United States Marshal

By
Deputy Marshal

 
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AO 245 B (Rev. 06/05)(W.D.TX.) - Supervised Release

 

Judgment--Page 3

Defendant: STEVEN LYNN MOUTON
Case Number: SA-08-CR-301 (1)-XR

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of TWENTY (20) Years on
each of Counts One (1) and Two (2) to be served concurrently.

While on supervised release, the defendant shall comply with the mandatory and standard conditions that have been
adopted by this Court as set forth on pages 4 and 5 of this judgment. In. addition, the defendant shall comply with the following
special conditions:

x The defendant shall attend and participate in a mental health treatment program and/or sex offender treatment program
as approved and directed by the U.S. Probation Officer. The defendant shall abide by all program rules, requirements
and conditions of the sex offender treatment program, including submission to polygraph and all other testing. The
defendant will be required to make co-payment based on the defendant's ability to pay as determined by the U. S.
Probation Officer.

The defendant shall not associate with any child or children under the age of 18 except in the presence and supervision
of an adult specifically designated in writing by the U. S. Probation Officer. The U. S. Probation Officer will notify the
designated adult of risks occasioned by the defendant's criminal record or personal history or characteristics. The
defendant shall permit the U. S. Probation Officer to make such notifications.

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The defendant shall reside in a residence approved, in advance, by the U S. Probation Officer. Any changes in the
residence must be pre-approved by the U. S. Probation Officer.

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The defendant shall not reside within 1,000 feet of the real property comprising a public or private elementary,
vocational, or secondary school, or playground or a housing authority owned by a public housing authority or within 100
feet of a public or private youth center, public swimming pool or video arcade facility, without prior approval of the U. S.
Probation Officer.

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The defendant shall refrain from purchasing, possessing, or using any sexually stimulating or sexually oriented
materials including but not limited to written, audio and visual depictions, such as pornographic books, magazines,
photographs, films, videos, DVDs, computer programs, or any other media for portrayal of the same.

|x

The defendant shall refrain from purchasing, possessing, or using any sexually stimulating or sexually oriented
materials including but not limited to written, audio and visual depictions, such as pornographic books, magazines,
photographs, films, videos, DVDs, computer programs, or any other media for portrayal of the same.

|

The defendant shall participate in the computer restriction/monitoring program and shall abide by all the rules and
requirements of the program.

|x

If required to register under the Sex Offender Registration and Notification Act, the defendant shall submit his person,
and any property, house, residence, vehicle, papers, computer, other electronic communication or data storage devices
or media, and effects to a search at any time, with or without a warrant, by any law enforcement or probation officer
with reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct by the
person, and by any probation officer in the lawful discharge of the officer's supervision functions.

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The defendant shall register with the State Sex Offender Registration Agency in any state where the defendant resides,
is employed, carries on a vocation, or is a student, as directed by the United States Probation Officer.

 
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AO 245 B (Rev. 05/04)(W.D.TX.) - Supervised Release .

Judgment--Page 4

Defendant: STEVEN LYNN MOUTON
Case Number: SA-08-CR-301 (1)-XR

CONDITIONS OF SUPERVISION

Mandatory Conditions:

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2)

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shail submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as determined by the court.

In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

The defendant shall cooperate in the collection of DNA as directed by the probation officer if the collection of such a
sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 1413a).

If convicted of a sexual offense as described in 18 U.S.C. § 4042(c)(4), the defendant shall register with the state sex
offender registration agency in the state where the defendant resides, works, or is a student, as directed by the probation
officer.

If convicted of a domestic violence crime as defined in 18 U.S. C. § 3561(b), the defendant shall participate in an approved
program for domestic violence. ,

If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
Schedule of Payments sheet of the judgment.

Standard Conditions:

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13)

The defendant shall not leave the judicial district without permission of the court or probation officer.

The defendant shall report to the Probation Officer and shall submit a truthful and complete written report within the first
five days of each month.

The defendant shail answer truthfully all inquires by the Probation Officer and follow the instructions of the Probation
Officer.

The defendant shall support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the Probation Officer for schooling, training or
other acceptable reasons.

The defendant shall notify the Probation Officer at least ten days prior to any change in residence or employment.

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any controlled substance or any paraphernalia related to any controlled substance, except as prescribed by a physician.

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the Probation Officer.

The defendant shall permit a Probation Officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the Probation Officer.

The defendant shall notify the Probation Officer within seventy-two hours of being arrested or questioned by a law
enforcement officer.

The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency
without the permission of the Court.

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.

 
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AQ 245 B (Rev. 05/04)(W.D.TX.) - Supervised Release

Judgment--Page 5

Defendant: STEVEN LYNN MOUTON
Case Number: SA-08-CR-301 (1)-XR

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If convicted of a sexual offense as described in 18 U.S.C. § 4042(c)(4), or has a prior conviction of a State or local offense
that would have been an offense as described in 18 U.S.C. § 4042 (c)(4) if a circumstance giving rise to Federal
jurisdiction had existed, the defendant shall participate in a sex offender treatment program approved by the probation
officer. The defendant shall abide by all program rules, requirements and conditions of the sex offender treatment
program, including submission to polygraph testing, to determine if the defendant is in compliance with the conditions of
release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be
determined by the probation officer, based on the defendant's ability to pay.

The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
officer, and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing and
examination to determine if the defendant has reverted to the use of drugs or alcohol. The defendant may be required to
contribute to the cost of the services rendered (copayment) in an amount to be determined by the probation officer, based
upon the defendant's ability to pay.

The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if
deemed necessary by the probation officer, the defendant shall participate in a mental health program approved by the
probation officer. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
amount to be determined by the probation officer, based upon the defendant's ability to pay.

If the defendant is excluded, deported, or removed upon release from imprisonment, the term of supervised release shall
be a non-reporting term of supervised release. The defendant shall not illegally re-enter the United States. If the
defendant lawfully re-enters the United States during the term of supervised release, the defendant shall immediately
report in person to the nearest U.S. Probation Office.

If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
penalties in accordance with the Schedule of Payments sheet of the judgment.

If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall provide the probation officer access to any requested financial information.

If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval
of the probation officer unless the defendant is in compliance with the payment schedule.

 
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AO 245 B (Rev. 06/05)(W.D.TX.) - CMP

Judgment--Page 6

Defendant: STEVEN LYNN MOUTON
Case Number: SA-08-CR-301 (1)-XR

CRIMINAL MONETARY PENALTIES/ SCHEDULE

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655
East Durango Boulevard, Room G-65, San Antonio, Texas 78206.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Assessment Fine Restitution

TOTAL: $200.00 $10,000.00 $0

Special Assessment

it is ordered that the defendant shall pay to the United States a special assessment of $200.00. This amount is the
total of the special assessments imposed on individual counts, as follows: $100.00 on Count One (1) and $100.00 on Count
Two (2). Payment of the total sum of $200.00 shall begin immediately.

Fine

The defendant shall pay a fine of $10,000.00. Payment of this sum shall begin immediately. The fine is below
guideline range because of the defendant's inability to pay a fine within the guideline range. This amount is the total of the fines
imposed on individual counts, as follows: $5,000.00 on Count One (1) and $5,000.00 on Count Two (2).

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all
non-federal victims must be paid before the United States is paid.

If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed.
See 18 U.S.C. §3614.

The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.

Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.

 
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AO 246 B (Rev. 06/05)(W.D.TX.) - Forfeiture

 

Judgment--Page 7

Defendant: STEVEN LYNN MOUTON
Case Number: SA-08-CR-301 (1)-XR

FORFEITURE

The defendant is ordered to forfeit the following property to the United States:

Real property located and situated at 18 Crystal Circle, Boerne, Kendall County, Texas, including any and all buildings,
appurtenances and improvements thereon and any and all surface rights, title and interests, if any, more fully described
as Lot 21, Ammann Ranch Estates, Kendall County, Texas, according to piat thereof recorded in Volume 4, Page
393-395, Kendall County Plat Records. RESERVATIONS FROM AND EXCEPTIONS TO CONVEYANCE AND
WARRANTY FOR ALL OF THE AFOREMENTIONED REAL PROPERTY: Easements, rights-of-way, and prescriptive
rights, whether of record or not; all presently recorded instruments, other than liens and conveyances, that affect the
property.

 
